
CARNES, Circuit Judge:
This is an appeal by the trustee of the bankruptcy estate of Ricky Bracewell from an order of the district court excluding from the estate a payment Bracewell received under the Agricultural Assistance Act of 2003 for crop losses he had sustained. The appeal turns on the issue of whether a crop disaster payment is property of the debtor’s estate under 11 U.S.C. § 541(a)(1) or (a)(6) if the losses occurred before the bankruptcy filing or conversion date but the legislation authorizing the payment came afterwards. The bankruptcy court ruled that the payments were property of the estate under § 541(a)(1) but not under (a)(6). On Bracewell’s appeal, the district court ruled that the payment was not property of the bankruptcy estate under either subsection of § 541. This is the trustee’s appeal from that ruling.
I.
The facts have been stipulated throughout these proceedings. Ricky Bracewell planted approximately 223 acres of seed wheat in November 2000 and approximately 374 acres of seed cotton in May 2001. A drought in 2001 substantially reduced Bracewell’s crop yields. As a result, he was unable to repay the debts he had incurred to produce the crops. Bracewell filed a Chapter 12 bankruptcy petition on May 29, 2002, and he converted it to a Chapter 7 case on January 2, 2003.
In July 2002, while Braeewell’s bankruptcy petition, was pending, the Emergency Farmer and Rancher Assistance Act of 2002 was introduced in the House of Representatives. H.R. 5310, 107th Cong. (2002). That proposed legislation was not enacted. In January 2003, after Bracewell had converted his bankruptcy case to chapter 7, Congress reconvened and the legislation was reintroduced as The Agricultural Assistance Act of 2003. H.R.J. Res. 2, 108th Cong. (2003). The Act was signed into law on February 20, 2003. Agricultural Assistance Act of 2003, Pub.L. No. 108-7, div. N, tit. II, 117 Stat. 538 (2003). It provided for monetary assistance to farmers who had suffered losses to their 2001 or 2002 crops due to weather-related disasters or emergency conditions. Id. § 202(a), 117 Stat. at 538. Under the Act farmers who had suffered losses to *1237both their 2001 and 2002 crops could receive assistance for only one year’s loss, the year to be selected by each farmer. Id. § 202(c), 117 Stat. at 538. On January 30, 2004, Bracewell applied to the Department of Agriculture’s Farm Service Agency for a payment as a result of the losses he had suffered to his 2001 wheat and cotton crops. He received that payment, in the amount of $41,566 on February 19, 2004, while his Chapter 7 case was still pending in the bankruptcy court.
II.
A.
We begin our legal discussion by taking up the question of whether the crop disaster payment to Bracewell is property of the bankruptcy estate under § 541(a)(1), which is an issue of first impression in this circuit. Section 541(a)(1) defines property of the bankruptcy estate as “all legal or equitable interests of the debtor in property as of the commencement of the case.” 11 U.S.C. § 541(a)(1). The plain language of that provision is clear, and it makes the commencement of the bankruptcy ease the key date for property definition purposes.1 That means the property of the debtor’s estate is property the debtor had when the bankruptcy case commences, not property he acquires thereafter. Our most closely analogous decision, as well as the only two courts of appeals decisions that are directly on point, confirm that the clear temporal limitation which is so plain on the face of the statutory language controls.
The specific issue in Witko v. Menotte (In re Witko), 374 F.3d 1040 (11th Cir.2004), was whether a legal malpractice claim was property of the estate. Id. at 1042. After Witko filed a petition for bankruptcy, he was denied alimony in a separate legal proceeding. Id. at 1042. Thereafter, and while his bankruptcy case was still pending, Witko sued his divorce counsel for malpractice. Id. The trustee intervened, seeking a determination that Witko’s malpractice claim was property of the estate. Id. We held that it was not, because a debtor’s estate cannot be greater than the property rights the debtor had at the commencement of the case. See id. at 1042-43. We reasoned that: “Applying the appropriate state law, Witko’s legal malpractice cause of action did not exist until his alimony action concluded with an adverse outcome that was proximately caused by his attorney’s negligence,” id. at 1043, and that outcome did not happen until after the commencement of the bankruptcy case. Id. at 1044. As a result, the property interest in the malpractice claim did not come into existence until after the bankruptcy case had already commenced. Id. The same is true here. Bracewell’s property interest in a claim to payments under the Agricultural Assistance Act of 2003 did not come into existence or accrue *1238until that legislation became law, which was after his bankruptcy petition had been filed.
The two federal appeals court decisions directly on point are Drewes v. Vote (In re Vote), 276 F.3d 1024 (8th Cir.2002), and Burgess v. Sikes (In re Burgess), 438 F.3d 493 (5th Cir.2006) (en banc). In the Eighth Circuit case the debtor, Vote, filed a bankruptcy petition on September 7, 1999, which was six weeks before legislation was passed providing payments for crop losses suffered during 1999. Vote, 276 F.3d at 1026. Thereafter, Vote received more than $33,000 under that legislation because he had not been able to plant a crop in 1999. Id. The Eighth Circuit held that the payments were not “legal or equitable interests of the debtor in property as of the commencement of the case” within the meaning of § 541(a)(1). Id. at 1027. It reasoned that to include the payments in the estate would give the trustee rights beyond those that Vote had at the commencement of the case, because Vote “had no interest of any kind” until the assistance legislation became law. Id.
The Fifth Circuit, sitting en banc, has also recently addressed this precise issue. The Burgess case involved disaster payments under the Agricultural Assistance Act of 2003, the same legislation involved in this case. See Burgess, 438 F.3d at 495. The only factual difference from this case is that Burgess had received a discharge from bankruptcy before the legislation was enacted. See id. The trustee filed a motion to re-open. Id. The Fifth Circuit held that the case should not be re-opened because the assistance payments were not property of the estate. Id. at 496. It began with the proposition that only property “ ‘in which the debtor has a legal or equitable interest at the time of bankruptcy comes into the estate.’ ” Id. at 499 (quoting Goff v. Taylor (In re Goff), 706 F.2d 574, 578 (5th Cir.1983) (quotation marks omitted), overruled on other grounds by Patterson v. Shumate, 504 U.S. 753, 112 S.Ct. 2242, 119 L.Ed.2d 519 (1992)). The debtor did not have a legal or equitable interest in crop loss payments under legislation that had not been enacted at the time he filed his bankruptcy petition. Id. at 503. He had only a “mere hope” that legislation would be enacted providing payments to cover his crop loss. Id. If a hope at the time of filing were enough, the Court explained, “any postpe-tition legislation or contract could retroactively create property of the estate.” Id. The Burgess court also held that the crop loss itself was not property of the estate which would bring in the disaster payment as proceeds. Id. If the fact that the crop loss preceded the filing were enough by itself, the language of § 541(a)(1)—“a legal or equitable interest as of the commencement of the case”'—would have no effect. Id. There can be no legal or equitable interest in payment without law authorizing it, and at the time of filing that law did not exist. See id.
The Ninth Circuit’s decision in Sliney v. Battley (In re Schmitz), 270 F.3d 1254 (9th Cir.2001), is in accord with these decisions although Schmitz presented a slightly different question. After the filing of his bankruptcy petition, Schmitz was awarded a fishing quota or right for future years. Id. at 1255. The quota was calculated based on Schmitz’s pre-filing fishing history. Id. The Ninth Circuit held that the quota rights were not part of the bankruptcy estate because the regulations creating those rights were not adopted until after the bankruptcy petition was filed. Id. at 1257-58. Even though the quota was calculated based on Schmitz’s pre-filing fishing history, that history had no value until the regulations were promulgated. Id. at 1257. At the time he filed, Schmitz had nothing beyond a hope based on his interest. Id.
*1239Thus, the circuits that have considered the issue are in agreement that no legal or equitable interest exists until assistance legislation becomes law; before then the debtor has only a hope and maybe an expectation that legislation will be enacted for his relief, but that is not enough. See In re Schmitz, 270 F.3d at 1257 (holding that “a hope, a wish and a prayer” is insufficient under § 541(a)(1)). We join the other circuits and conclude that until legislation was enacted authorizing the disaster payments and specifying the criteria for those payments, Bracewell had no legal or equitable interest in a payment. This is true even though before he filed his case he satisfied the criteria for payment that, as it turns out, Congress would eventually require. The fact that Congress regularly enacts this type of legislation did not give Bracewell any legal or equitable interest in the payment he would receive if Congress acted as it had in the past. “If’ is a big word. Cf. Barnette v. Evans, 673 F.2d 1250, 1252 (11th Cir.1982) (rejecting the rationale of a bankruptcy court that we characterized as: “if we had some ham, we could have ham and eggs, if we had some eggs”).
Not until the enactment of the legislation elevated Bracewell’s hope to an entitlement did it become an interest cognizable under § 541(a)(1). As the district court explained in its opinion in this case:
Without the crop disaster legislation, growing crops and suffering crop loss— no matter how sufficiently rooted to the pre-bankruptcy past — are of no legal significance and create no right. This is why the bankruptcy court’s statement, “Upon the occurrence of the disaster, [Appellant] had the right to collect disaster payments from the government, if such legislation [were] passed,” employs circular reasoning. Indeed, it is the crop disaster legislation that makes growing and suffering certain crop losses relevant by attaching new legal consequences to events completed before the legislation’s enactment.
Bracewell v. Kelley (In re Bracewell), 322 B.R. 698, 707 (M.D.Ga.2005).
Our conclusion that a debtor has no cognizable interest in a payment that Congress has not yet authorized through legislation is also in accord with most of the bankruptcy courts that have considered the issue. Cf. Boyett v. Moore (In re Boyett), 250 B.R. 817, 822 (Bankr.S.D.Ga.2000); Drewes v. Lesmeister (In re Lesmeister), 242 B.R. 920, 925 (Bankr.D.N.D.1999). We are aware that Lemos v. Rakozy (In re Lemos), 243 B.R. 96 (Bankr.D.Idaho 1999), is to the contrary but do not find that court’s reasoning to be persuasive, a sentiment that is apparently now shared by the very court that issued the decision. See In re Stallings, 290 B.R. 777, 781 (Bankr.D.Idaho 2003) (noting that “the legal landscape has changed” since the Lemos decision was issued).
The existence of § 1207, which we noted in passing earlier in this opinion, see p. 1237 n.l, above, provides an additional reason for concluding that § 541(a)(l)’s language defining property interests of the estate as those that existed “as of the commencement of the case” clearly is a temporal limitation. Congress enacted Chapter 12 of the Bankruptcy Code, the chapter under which Bracewell originally filed for bankruptcy, in 1986. Bankruptcy Judges, United States Trustees, and Family Farmer Bankruptcy Act of 1986, Pub.L. 99-554, § 255, 100 Stat. 3088 (Oct. 27, 1986). Section 1207 expands, for cases falling under it, the definition of property of the estate under § 541 to include “all property of the kind specified in such section that the debtor acquires after the commencement of the case but before the case is closed, dismissed, or converted to a case under chapter 7 of this title, whichever occurs first.” 11 U.S.C. § 1207(a)(1). *1240If § 541(a)(1) did not generally limit the property of the estate to that which existed at the time of filing, there would be no reason for § 1207(a)(1) to extend the cutoff point to the earlier of the closing, dismissal, or conversion date in Chapter 12 cases. Reading § 541(a)(1) the way the trustee and our dissenting colleague urge would render § 1207(a)(1) largely superfluous, and statutes ought to be read so that every provision has a purpose and field of operation. See, e.g., TRW Inc. v. Andrews, 534 U.S. 19, 31, 122 S.Ct. 441, 449, 151 L.Ed.2d 339 (2001) (“It is a cardinal principle of statutory construction that a statute ought, upon the whole, to be so construed that, if it can be prevented, no clause, sentence, or word shall be superfluous, void, or insignificant.”) (internal quotation marks omitted); Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253, 112 S.Ct. 1146, 1149, 117 L.Ed.2d 391 (1992) (“[CJourts should disfavor interpretations of statutes that render language superfluous.”); Bouchar Transp. Co. v. Updegraff, 147 F.3d 1344, 1351 (11th Cir.1998) (“[W]e avoid statutory constructions that render provisions meaningless.”).
B.
The dissenting opinion in this case follows the tracks of the Burgess dissenters and joins them on what is essentially one long, forced march against the plain language that governs the issue. Congress said “property as of the commencement of the case,” 11 U.S.C. § 541(a)(1), and that is the language we must apply. The Burgess dissenters contended that § 541(a)(1) and (6) are “sufficiently broad to encompass the disaster payments.” Burgess, 438 F.3d at 508 (Jones, C.J., dissenting). Their argument was that the purposes of bankruptcy require a “comprehensive administration of the debtor’s property,” which justifies a broad reading of § 541. Id. at 509. A broad reading is one thing; a reading contrary to the plain meaning of clear statutory language is another. Our dissenting colleague, like the dissenters in Burgess, would read § 541(a)(1)’s plain statutory language “as of the commencement of the case” so “broadly” that it no longer means “as of the commencement of the case.” We do not question their good faith or the sincerity of their belief that construing the language as they do would better further what they see as the purposes of the Bankruptcy Code and their notion of good policy. We do, however, disagree with the implicit premise of their position: that it is the function of judges to modify legislative language to better suit what they perceive to be Congress’ purposes and the felt necessities of their policy views.
The Supreme Court and this Court have warned on countless occasions against judges “improving” plain statutory language in order to better carry out what they perceive to be the legislative purposes. See, e.g., Lamie v. U.S. Trustee, 540 U.S. 526, 538, 124 S.Ct. 1023, 1032, 157 L.Ed.2d 1024 (2004) (“Our unwillingness to soften the import of Congress’ chosen words even if we believe the words lead to a harsh outcome is longstanding. It results from deference to the supremacy of the Legislature, as well as recognition that Congressmen typically vote on the language of a bill.”) (internal quotation marks omitted); Artuz v. Bennett, 531 U.S. 4, 10, 121 S.Ct. 361, 365, 148 L.Ed.2d 213 (2000) (“Whatever merits these and other policy arguments may have, it is not the province of this Court to rewrite the statute to accommodate them .... [TJhe text ... may, for all we know, have slighted policy concerns on one or the other side of the issue as part of the legislative compromise that enabled the law to be enacted.”); Conn. Nat’l Bank, 503 U.S. at 254, 112 S.Ct. at 1149 (“When the words of a statute are unambiguous, then, this first canon is also the last: judicial inquiry is complete.”) (internal quotation marks omitted); *1241Badaracco v. Comm’r of Internal Revenue, 464 U.S. 386, 398, 104 S.Ct. 756, 764, 78 L.Ed.2d 549 (1984) (“Courts are not authorized to rewrite a statute because they might deem its effects susceptible of improvement.”); Wright v. Sec’y for Dept. of Corr., 278 F.3d 1245, 1255 (11th Cir.2002) (“Our function is to apply statutes, to carry out the expression of the legislative will that is embodied in them, not to ‘improve’ statutes by altering them.”); Harris v. Garner, 216 F.3d 970, 976 (11th Cir.2000) (en banc) (“We will not do to the statutory language what Congress did not do with it, because the role of the judicial branch is to apply statutory language, not to rewrite it.”).
If, in the face of plain statutory language, an opinion runs on about purposes and policies, it is a sure sign the revision knife is out and an effort is being made to slice and dice clear language to make way for the policy preferences of the writer. It justifies Justice Scalia’s recent criticism that talk about “advancing ‘the purpose of the Act’ ” is the “last resort of extravagant interpretation.” Rapanos v. United States, — U.S. —, 126 S.Ct. 2208, 2232, 165 L.Ed.2d 159 (2006) (plurality opinion). As he explained, it is an approach that runs counter to the truth “that no law pursues its purpose at all costs, and that the textual limitations upon a law’s scope are no less a part of its ‘purpose’ than its substantive authorizations.” Id. The dissenting opinion in this case refines the extravagant interpretation approach by suggesting that the statutory language “property as of the commencement of the case” is ambiguous as to whether it covers an interest created by a pre-petition crop loss. We disagree. The language is perfectly clear. It covers exactly what it says it covers, which are any interests that are “property as of the commencement of the ease” and none that are not. If an interest is not property on the date a case is filed, it is not covered.
The Burgess dissenters relied primarily on two Supreme Court decisions, Segal v. Rochelle, 382 U.S. 375, 86 S.Ct. 511, 15 L.Ed.2d 428 (1966), and United States v. Whiting Pools, 462 U.S. 198, 103 S.Ct. 2309, 76 L.Ed.2d 515 (1983), both of which are readily distinguishable. In Segal the Supreme Court held that certain loss-car-ryback tax refunds were property of the bankruptcy estate. 382 U.S. at 380, 86 S.Ct. at 515. The debtors argued that the refunds were not property of the estate because, although the losses entitling them to the refunds were suffered before they filed their bankruptcy petitions, under the statutory scheme no refunds could be claimed until the end of the year. Id. at 380, 86 S.Ct. at 515. According to the Court, the purposes of the Bankruptcy Act, rather than a particular federal or state definition, would ultimately determine whether any particular item constituted property of the estate. Id. at 379, 86 S.Ct. at 515. The Court noted that “property” of the bankruptcy estate should be broadly construed and that “an interest is not outside its reach because it is novel or contingent or because enjoyment must be postponed.” Id. The Court ultimately held that the refund claim was “sufficiently rooted in the pre-bankruptcy past and so little entangled with the bankrupts’ ability to make an unencumbered fresh start that it should be regarded as ‘property.’ ” Id. at 380, 86 S.Ct. at 515. According to the Burgess dissent, Segal means that a loss as of the date of bankruptcy “can later yield property includable in the debtor’s estate.” Burgess, 438 F.3d at 511.
The Segal decision cannot mean what the Burgess dissenters say it does about the present Bankruptcy Code, because Segal was decided twelve years before Congress overhauled the Bankruptcy Code in 1978. It was during that overhaul that Congress added the critical language of § 541(a)(1), restricting property *1242of the estate to that which existed “as of the commencement of the case.” See DirecTV, Inc. v. Brown, 371 F.3d 814, 817 (11th Cir.2004) (“[C]hanges in statutory-language generally indicate an intent of Congress to change the meaning of the statute.”) (internal quotation marks, alterations, and citations omitted); Muscogee Nation v. Hodel, 851 F.2d 1439, 1444 (D.C.Cir.1988) (“Where the words of a later statute differ from those of a previous one on the same or related subject, the Congress must have intended them to have a different meaning.”). The § 541(a)(1) definition, with its explicit temporal limitation, controls our analysis rather than Segal’s test. See Burgess, 438 F.3d at 498 (“Segal’s ‘sufficiently rooted’ test did not survive the enactment of the Bankruptcy Code.”); In re Vote, 276 F.3d at 1026 (“To find for the trustee on the basis that the payments were ‘sufficiently rooted’ would allow the trustee to assert more rights than Vote had at the commencement of his case. The legislative history of the 1978 Bankruptcy Code ■ makes clear that despite the broad scope of § 541, it is not intended to [expand] the debtor’s rights against others more than they exist at the commencement of the case.”) (internal quotation marks omitted). The Segal decision told us how to define property under the old bankruptcy code, before it was amended in 1978 to include an explicit definition of property. We will not attribute to the Supreme Court an intent to construe legislative language that it had not seen and which would not even exist for another dozen years.
Our dissenting colleague relies on the Segal decision, as did the Burgess dissenters, and we think that his reliance is misplaced for the same reasons theirs was. He does add another component to the argument about Segal. In support of the proposition that Segal’s “sufficiently rooted” test should be allowed to trump the later-enacted, plain language of § 541(a)(1), he cites our decision in In re Alvarez, 224 F.3d 1273 (11th Cir.2000). In that case, as in our Witko decision, we had to determine whether the debtor’s legal malpractice action was part of the bankruptcy estate. Id. at 1275. We held that it was. Id. at 1278. The basis for the legal malpractice action was the filing of the bankruptcy case itself. Id. at 1275. The debtor had instructed his attorney to file a Chapter 11 reorganization petition on his behalf, but that attorney filed a Chapter 7 petition instead. Id.
We began our analysis in Alvarez by examining the legal malpractice claim, looking to its elements under Florida law to determine exactly when the cause of action accrued. Id. at 1276-77. We determined that the cause of action had accrued under state law at the moment Alvarez’s bankruptcy petition was filed and, therefore, concluded that Alvarez had a cause of action “as of the commencement” of his bankruptcy case which was property of the estate under § 541(a)(1). Id. at 1278. This is precisely the same analysis which we later applied in the Witko case and it is not dependent at all on the Segal “sufficiently rooted” analysis. See Witko, 374 F.3d at 1042-43. This is the holding of Alvarez and the analysis that we are bound to follow: we look to state law to determine when a claim arises, and if it arises on or before the commencement of the bankruptcy case, it is part of the bankruptcy estate.
The dissent has been led astray by some superfluous language in Alvarez which was not necessary to its holding. The Alvarez opinion says that it is not deciding if federal or state law governs the question of whether the malpractice action was property of the estate, because under either approach the claim was property of the estate. Alvarez, 224 F.3d at 1276 (“We *1243decline to decide the question of which law governs this determination, because in either event, we conclude that this legal malpractice claim is property of Alvarez’s bankruptcy estate.”). It examines Florida law and concludes that under it the claim would be property of the estate if state law governs the definition of property. It then explains why under the Segal test the claim would also be property of the estate if federal law governs the definition of property. Id. at 1278-79.
The real reason that the Alvarez panel did not have to decide whether state or federal law governed the definition of property for purposes of the bankruptcy estate is that question had already been decided. Prior panel decisions had held that the question of whether a debtor’s interest in property is property of the estate is a federal question, but the definition of property and issues about the nature and existence of the debtor’s interest, are issues of state law. See, e.g., Hall Motors, Inc. v. Lewis (In re Lewis), 137 F.3d 1280, 1283 (11th Cir.1998); Southtrust Bank of Alabama v. Thomas (In re Thomas), 883 F.2d 991, 995 (11th Cir.1989). The Alvarez panel was bound by those decisions, although its implication that the question was still open was harmless to that appeal since it did not affect the result. It has, however, confused our colleague. In any event, to the extent that anything in the Alvarez opinion supports the dissent’s position it is contrary to the holdings in In re Lewis and In re Thomas, and under the prior panel precedent rule we are obliged to follow those earlier decisions. See United States v. Hornaday, 392 F.3d 1306, 1316 (11th Cir.2004); Cohen v. Office Depot, Inc., 204 F.3d 1069, 1072 (11th Cir.2000). The Witko decision, which came after Alvarez, did the right thing in following the earlier panel decisions.
The Burgess dissenters’ reliance on the Supreme Court’s decision in Whiting Pools is also misplaced, but for a different reason. In that case the Court addressed the question of whether certain personal property seized by the IRS the day before the debtor filed for bankruptcy was subject to being turned over to the debtor under § 542(a) of the Bankruptcy Code. United States v. Whiting Pools, 462 U.S. 198, 199-200, 103 S.Ct. 2309, 2310-11, 76 L.Ed.2d 515 (1983). The case was about § 542(a), but § 541(a)(1) was implicated because § 542(a) authorizes turnover of property in another’s possession only if it is property of the estate. See id. at 205-07, 103 S.Ct. at 2313-15. For that reason, the Court had to determine whether the seized property the debtor wanted the IRS to return was property of the estate. The Court stated that “[although [section 541(a)(1) and section 542(a)] could be read to limit the estate to those interests of the debtor in property at the time of the filing of the petition, we view them as a definition of what is included in the estate, rather than as a limitation.” Id. at 203, 103 S.Ct. at 2312. It is this statement that the Burgess dissenters seized upon. See Burgess, 438 F.3d at 510 (Jones, C.J., dissenting).
We do not read that decision as they do. We do not interpret the statement quoted from the Whiting Pools opinion to hold that § 541(a)(1) does not mean what it says; we do not interpret it to mean that the provision does not impose a temporal limitation on the definition of property of the estate. Instead, we interpret the statement in the context in which it was made. The Court was dealing with property for which the debtor had legal title but not possession at the key time, which was the date the reorganization petition was filed in that Chapter 11 case.
The Court concluded in Whiting Pools, that “ § 542(a) grants to the estate a pos-*1244sessory interest in certain property of the debtor that was not held by the debtor at the commencement of reorganization proceedings.” 462 U.S. at 207, 103 S.Ct. at 2314-15 (emphasis added). The Court applied the § 541(a)(1) temporal limitation to whether the debtor had legal title of the property at the time the estate was created, as we do here. It also held that § 541(a)(1) did not require the debtor to have possession of the property, in addition to a legal or equitable interest in it, to the extent that § 542(a) permits the trustee to take possession.
In other words, in Whiting Pools the Court determined that § 541(a)(1) was “intended to include in the estate any property made available to the estate by other provisions of the Bankruptcy Code,” and that § 541(a)(1) would not limit other Code provisions which bring into the estate property that the debtor did not have a possessory interest in at the time of filing. Id. at 205, 103 S.Ct. at 2314-15. Thus, in Whiting Pools, the debtor did have interests in the disputed property “as of the commencement of the case.” The Whiting Pools opinion explains how § 542(a) works together with § 541(a)(1). It does not purport to decide how § 541(a)(1) operates in a case, like this one, in which § 542(a) is not implicated.
Our dissenting colleague argues that decisions of the Supreme Court and this Court establish that a crop loss automatically creates property rights. The Supreme Court cases that the dissent relies on are two cases from the 1800’s, Williams v. Heard, 140 U.S. 529, 11 S.Ct. 885, 35 L.Ed. 550 (1891), and Milnor v. Metz, 41 U.S. (16 Pet.) 221, 10 L.Ed. 943 (1842). Of course, both of those decisions pre-date the adoption of the Bankruptcy Code, and the critical language we are interpreting, by a century or so. Not only that, but both cases are distinguishable because the debtors had claims which pre-existed their bankruptcy filings. In Williams the Court noted that “the act of congress did not create the rights.. They had existed at all times since the losses occurred.” Williams, 140 U.S. at 541, 11 S.Ct. at 888. Similarly, in Milnor the Court noted that if “a similar claim on the part of Milnor [had] existed against an individual, instead of the government, then there can be no doubt, he could have recovered by suit .... As the government was equally bound to do its debtor justice, in a different mode, with an individual, we think no sound distinction exists in the two cases.” Milnor, 41 U.S. at 227. Those two statements indicate why those cases were different from this case. The debtors had pre-existing claims which were property of the estate. In this case there was only the crop loss itself with no claim of entitlement arising from it until Congress created one. The crop loss was the result of an act of nature and by itself did not give rise to a claim against anyone. Bracewell had no right to be compensated until Congress enacted the legislation giving him a right and that did not occur until after he had filed for bankruptcy, or in the critically important words of § 541(a)(1), not until after “as of the commencement of the case.”
Like the Supreme Court decisions our dissenting colleague relies upon, our decisions in Witko and Alvarez do not support the proposition that a loss creates a contingent interest which may be property of the bankruptcy estate. The dissenting opinion makes the same error with respect to both cases, asserting that in each we decided whether the debtor’s malpractice suit was property of the estate by determining whether the debtor had suffered harm pre-petition. All that Witko and Alvarez recognize in this respect is that suffering harm is a necessary, although not sufficient, element of a legal malpractice claim under the relevant state law in both cases. *1245In both cases the Court determined whether all the elements of a malpractice cause of action, including the suffering of harm, existed at the time the debtors filed their bankruptcy petition. Neither decision held or implied that harm alone would be legally sufficient. Instead, what we did in Witko and Alvarez is what we have done here, which is determine whether on the date the bankruptcy case commenced the debtor had an enforceable property right — there a malpractice claim, here a claim for crop loss payments under a congressional act.
III.
The next question we address is whether anything in § 541(a)(6) expands the definition of property enough to encompass the disaster relief payment Bracewell received. That provision extends the definition of property of the estate to include “[proceeds, product, offspring, rents, or profits of or from property of the estate ....” 11 U.S.C. § 541(a)(6). The key language for present purposes is that the proceeds must be “of or from property of the estate.” See id. If the property of the estate does not include a potential future payment that the debtor is not legally entitled to receive at the time of filing, nothing in § 541(a)(6) pushes the later-acquired legal or equitable interest back into the estate. As we have discussed at some length already, Bracewell did not have a cognizable interest in his hoped for relief payment until the Agriculture Assistance Act of 2003 came into being, and that occurred after he had already filed his petition. Thus, the property of his estate did not include an interest that could generate proceeds.
We are not persuaded by the trustee’s contention that the payments are proceeds because they relate back to a pre-petition crop. He argues that the payment is a substitute or compensation for the portion of the debtor’s crops that did not grow because of the disaster. We agree that any compensation the debtor receives directly from disposition of the pre-petition crops, after the filing date, is proceeds of property of the estate. However, in the Agricultural Assistance Act of 2003 Congress did not purport to purchase the ruined crops of farmers like Bracewell. Instead, Congress provided assistance to farmers like him because of losses they had suffered in the past. See Agricultural Assistance Act of 2003, § 202(a) (“The Secretary ... shall use such sums as are necessary ... to make emergency financial assistance available to producers on a farm that have incurred qualifying losses for the 2001 or 2002 crop of an agricultural commodity due to damaging weather or related condition ... ”). Because this assistance was not given in exchange for property of the estate, it is not proceeds of property of the estate.
The en banc Fifth Circuit reached this same conclusion in the Burgess case. See Burgess, 438 F.3d at 503. It held that Burgess, whose situation is identical to Bracewell’s, had no interest in property at the commencement of the bankruptcy case that could mature into the crop disaster payment. Id. at 504. As the court explained, “[i]f Burgess had no right or interest that constituted property within the meaning of § 541(a)(1) at the commencement of the case, then the payment he later received cannot be proceeds of property of the estate under § 541(a)(6).” Id. at 499.
The dissenters in Burgess and our dissenting colleague assert that under the applicable state law the disaster payments would be characterized as proceeds of the lost crops. Id. at 517; dissenting opinion at 1257 -1259. The argument is that under Georgia law collateral includes “inchoate rights, in any and all crops to be planted, grown or produced on [the] prop*1246erty in the future,” dissenting opinion at 1257 -1258 (quoting Sw. Ga. Prod. Credit Ass’n v. James, 180 Ga.App. 795, 350 S.E.2d 786, 788 (1986)), and proceeds are “claims arising out of the loss[ ] ... or damage to the collateral.” Id. (quoting O.C.G.A. § 11 — 9—102(a)(63)). While we do look to state law to define what is property, the dissenting position overlooks the fact that “whether a debtor’s interest constitutes property of the estate is a federal question.” Lewis, 137 F.3d at 1283 (quotation marks omitted). Therefore, a property interest, however it is characterized by state law, can only be property of the estate if it is within the definition contained in the federal Bankruptcy Code. Under § 541(a)(6) that interest must be “[proceeds ... of or from property of the estate” in order to be property of the bankruptcy estate. 11 U.S.C. § 541(a)(6). And to be property of the estate for proceeds generating purposes, it must have been property of the estate at the time the bankruptcy petition was filed.
The dissenters also worry about problems that would result for debtors and creditors if the payments are defined as proceeds by state law but not included in the bankruptcy estate. If there is any cause for concern about that, the fact remains that we are not commissioned to cure problems in the operation of statutory schemes Congress has designed. The Supreme Court has pointedly stated that “[ejourts are not authorized to rewrite a statute because they might deem its effects susceptible of improvement,” Badaracco v. Comm’r of Internal Revenue, 464 U.S. 386, 398, 104 S.Ct. 756, 764, 78 L.Ed.2d 549 (1984), and we have recognized that “[ojur function is to apply statutes, to carry out the expression of the legislative will that is embodied in them, not to ‘improve’ statutes by altering them.” Wright v. Sec’y for Dep’t of Corr., 278 F.3d 1245, 1255 (11th Cir.2002). If there are problems with the way a statute operates, Congress can alter the statute to eliminate those problems; we cannot. Only judicial activists use interpretation as a tool for improving statutes to their liking, and none of us are judicial activists.
To be sure, there is some support in the decisions of bankruptcy courts for the position that crop disaster payments to which a debtor becomes entitled after filing or conversion are proceeds under § 541(a)(6). See FarmPro Servs., Inc. v. Brown (In re FarmPro Servs., Inc.), 276 B.R. 620 (D.N.D.2002); Lemos v. Rakozy (In re Lemos), 243 B.R. 96 (Bankr.D.Idaho 1999); White v. United States (In re White), No. BRL88-00971C, 1989 WL 146417 (Bankr.N.D.Iowa Oct.27, 1989). We are aware of those decisions but do not find them to be persuasive. None of them raises an argument that we have not already addressed. They all fail to give full allegiance to the congressional will manifested in the plain language of the Bankruptcy Code.
The trustee attempts to analogize disaster assistance to insurance payments. Insurance payments are explicitly included in the UCC definition of “proceeds,” U.C.C. § 9-306(1), and there is authority for the proposition that the bankruptcy Code’s definition of “proceeds” is at least as broad as the UCC definition. See, e.g., Unsecured Creditors Comm. v. Marepcon Fin. Corp. (In re Bumper Sales, Inc.), 907 F.2d 1430, 1437 (4th Cir.1990). There is a difference between insurance payments stemming from the destruction of property in the estate and disaster assistance authorized after the estate was created as a result of property that was destroyed before the estate came into being.
The analogy to insurance would be closer if an assistance payment were for losses suffered to crops that were in the estate at the time the petition was filed. That, however, is not what happened here. The relief payment did not stem from any loss *1247to property of the estate, because the crops were already lost before the estate came into being. Still, if the debtor had at the time of filing a legal or equitable right to a payment for crop losses, the situation would be like one in which the debtor had a right to insurance proceeds at the time of filing. See First State Bank of Abernathy v. Holder (In re Nivens), 22 B.R. 287, 291 (Bankr.N.D.Tex.1982). But, as we held earlier, there is no legal or equitable right to crop assistance payments until the authorizing legislation is enacted.
For these reasons we agree with the Fifth Circuit’s holding in Burgess that if Bracewell “had no right or interest that constituted property within the meaning of § 541(a)(1) at the commencement of the case, then the payment he later received cannot be proceeds of property of the estate under § 541(a)(6).” Burgess, 438 F.3d at 499. If the law creating the right to a disaster payment exists before the debtor files for bankruptcy and the debtor subsequently applies for and receives the payment, it could be proceeds of property of the estate. But if the disaster assistance legislation is not law at the time of filing, the debtor at that time has no legal or equitable interest in the payment and so there is no property of the estate to generate proceeds.
IY.
Because the crop disaster payment made to Bracewell was not property of the bankruptcy estate under § 541(a)(1) or § 541(a)(6), the district court’s order is
AFFIRMED.

. There is one wrinkle in cases, like the present one, which began as Chapter 12 proceedings but were converted to Chapter 7. Section 1207(a) of the Bankruptcy Code, which applies to Chapter 12 cases, expands the definition of property of the estate to include: "all property of the kind specified in such section [§ 541] that the debtor acquires after the commencement of the case but before the case is closed, dismissed, or converted to a case under chapter 7 of this title .... ” 11 U.S.C. § 1207(a)(1). The practical effect of that expansion in the temporal limitation- is to move the cutoff date for the acquisition of property from the filing of the bankruptcy case to the time it is converted under Chapter 7. In the present case that provision makes no difference because Bracewell’s crop losses occurred'before his bankruptcy petition was filed, and Congress’ enactment of the legislation authorizing payments occurred not only after Bracewell’s petition was filed but also after he converted it to a Chapter 7 proceeding. Probably for that reason, the parties do not mention § 1207(a)(1) but instead stake their positions regarding this issue on § 541(a)(1). We will focus our discussion on § 541(a)(1) as well.

